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                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION

PACIFIC GULF SHIPPING CO.,                  §      Case No.       3:18-CV-02076-MO
                                            §
                      Plaintiff,            §
                                            §
~                                           §      DECLARATION
                                            §
ADAMASTOS SHIPPING & TRADING                §
S.A., VIGOROUS SHIPPING &                   §      IN ADMIRALTY
TRADING S.A., BLUE WALL SHIPPING            §
LTD., and PHOENIX SHIPPING &                §
TRADING S.A.,                               §
                                            §
                      Defendants.           §

       My name is Patrick Michael Holloway. I am over the age of 21 years, and am fully

capable and competent of making this declaration, and declare that the following facts are true

and correct under penalty of perjury under the laws of the United States of America pursuant to

Title 28 U.S.C. Section 1746.

       1. I am an admitted and registered attorney of the High Court of South Africa, practicing

           as a partner of the law firm Webber Wentzel and work at its offices in Cape Town,

           South Africa.

       2. I am familiar with the underlying facts and disposition of the Case No. A63/2015,

          Name of ship: mv "VIGOROUS"; In the matter between: Pacific Gulf Shipping

           Company Limited and mv "VIGOROUS", VIGOROUS SHIPPING & TRADING

           S.A., before the High Court of South Africa, Kwazulu-Natal Local Division, Durban,

           as I was the attorney of record for the Defendants, the mv "VIGOROUS" and

           VIGOROUS SHIPPING & TRADING S.A in that matter.
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       3. In th::it case, in 2015, Justice Vc1.hecl set aside ("vacated") ~m order of an-est onr the

          vessel VIGOROUS. A copy of the order is attached hereto.

       4. A review of the Court's docket entries reveals that no appeal of that order was ever

          filed by Pacific Gulf Shipping Company Limited ("Pacific"), as Plaintiff and arresting

          party, or that any other action was taken by Pacific to prosecute its claims against the

          vessel or its owning company before the South African High Court following the

          court's order to set aside the arrest. In terms of the South African Supreme Court Act

          59 of 1959, Uniform Rule of Court 49, an application for leave to appeal the order

          had to be furnished within 15 days after the date of the order and no such application

          was filed.

       5. Under South African law, that order is no longer appealable and stands as a final

          judgment in the matter on the merits of the arrest of the vessel.

Executed on this 7th day of December, 2018.


                                     c~~,z
                                     Patrick Michael Holloway




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 IN THE HIGH COURT OF SOUTH AFRICA

 KWAZULU-NATAL LOCAL DIVISION, DURBAN
 (Exercising its Admiralty Jurisdiction)

                                                                         Case No: A63/2015



 Name of Ship: mv ''VIGOROUS"

 In the matter between:


 PACIFIC GULF SHIPPING COMPANY LIMITED                                              Applicant



 and


 mv .,VIGOROUS"                                                             First Respondent
 VIGOROUS SHIPPING & TRADING S.A.                                       Second Respondent


                               REASONS FOR JUDGMENT


 Vahed J:


 [1]        On 6 August 2015 and at the instance of the applicant Mbatha J, ex parte

 and in chambers, granted an Order for the arrest of the first respondent, which in its

 material portion read as follows:-

        ·2. The Sheriff for the district of Richards Bay is hereby authorised and directed to

             arrest the MV VIGOROUS (the "vessel") at the port of Richards Bay,

             alternatively while the vessel is at anchorage outside the port of Richards Bay, in

             terms of section 5(3) of the Admiralty Jurisdiction Regulation Act 105 of 1983 as

             amended (the "Admiralty Act") for the purpose of providing security for claims

             that the Applicant has advanced in Arbitration proceedings in London against the




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            Adamastos Shipping & Trading SA ("Adamastos Shipping") in the amount of

            US$37,300,000.00 plus interest and legal costs.

        3. The Sheriff is hereby authorised and directed to release the vessel from arrest

            upon provision of security to the satisfaction of the Registrar or the Applicant's

            attorneys in the amount of US049,981,697 .10 or the value if the property,

            whichever is the lesser."



 [21        The respondents sought to have the grant of that Order reconsidered and

 it was set down before me on 11 August 2015 for that purpose. No additional papers

 were delivered on behalf of the respondents, the matter being argued on the

 founding papers alone with the respondents' contending that a case had not been

 made out for the arrest. After hearing argument from Mr Pammenter SC who

 appeared for the applicant both before me and before Mbatha J and from Mr MuUins

 SC who appeared before me for the respondents I granted an Order, on 11 August

  2015, setting aside the arrest and dismissing the application with costs, such costs to

  include the costs of Senior Counsel.



  [3]        I have been requested to furnish reasons for that order which I now do. I

  pause to observe that although reasons were requested some time ago they are only

  being delivered now because of a confusion which arose on my part as a result of

  subsequent communications that unfolded between Mr Pammenter and myself as to

  the   necessity   for   these    reasons.    I   accept     sole   responsibility    for   that

  misunderstanding and regret the delay in furnishing these reasons.


  [4]        The underlying facts are these.




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 [5]            The founding affidavit in support of the arrest is, as is usual in matters of

 this nature, deposed to by the applicant's South African attorney who discloses that

 the source of the information contained in the affidavit is obtained from solicitors and

 others based in the United Kingdom. In other words the factual allegations contained

 in the affidavit, other than those which can be gleaned from either reliable or

 common cause documents annexed to the affidavit, are entirely of a hearsay nature.

 Again I make that observation not as an adverse remark but simply to point out that

 this application fell within the normal and usual "security arrest" type application that

  is frequently on the Court rolls where the Court exercises its Admiralty Jurisdiction.


  [6]           The founding affidavit sets out the underlying basis and I quote from it

  liberally:-

           "11. In this application the Applicant seeks an order in tenns of section 5(3)(a) of the

                 Admiralty Jurisdiction Regulation Act, 105 of 1983 ("the Admiralty Act") for the

                  arrest of the vessel as an vessel associated with the MV ADAMASTOS in order

                 to obtain security for a claim which the Applicant has referred to arbitration in

                  London against Adamastos Shipping & Tradind SA rAdamastos Shipping"),

                  the registered owner of the MV Adamastos.

           12. The claim to be asserted in the arbitration proceedings against Adamastos

                  Shipping arises out of a breach by Adamastos Shipping of a Charteparty

                  agreement concluded by it with the Applicant on 14 June 2013 pursuant to

                  which the applicant chartered the MV ADAMASTOS."


  {7]            As for the allegations as to association the founding affidavit made the

  following allegations:-




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     "41. The Applicant seeks an order for the arrest of the vessel on the grounds that It is

         an associated ship of the mv "ADAMASTOS", as contemplated by sections 3(6)

         and 3(7) of the Admiralty Act.

      42. As stated above, the mv "Adamastos" is owned by Adamastos Shipping. This is

          apparent from the Permanent Certificate of Registry issued by the Republic of

          Liberia on 03 June 2013, a copy of which I annex marked "PJFS".

      43. As will furthermore be apparent from what has been stated above, Adamastos

          Shipping is incorporated in Liberia. The Liberia Corporate Registry, like many

          other jurisdictions favoured by most ship-owners for the incorporation of ship

          owning special purpose entities, limits the disclosure of company Information.

          The limitation applies particularly to company shareholding, and it is accordingly

          not possible for members of the public to obtain details of the shareholding in the

          Adamastos Shipping via a search at the registry.

      44. I refer as well to a Report prepared by lnfospectrum dated 27 February 2015 a

          copy of which I attach marked "PJF6".

      45. This Report identifies Adamastos Shipping as the registered owner of the MV

          Adamastos, describes Phoenix Shipping as its manager and significantly states

          that ii Is beneficially owned by the Gourdomichalis brothers, George and Stathis

          Gourdomichalis, both of whom incidentally are also described as executives of

          Phoenix Shipping.

      46. Finally with regard to PJF6, Blue Wall Shipping Limited, Marshall Islands, and

          Blue Wall Capital Limited, United Kingdom, are described as ~affiliates".

      47. I also annex marked "PJF7" an extract from the Blue Wall Shipping Limited

          website which Identifies George and Stathis Gourdomichalis as the Chief

          Executive Officer and the Chief Operating Officer, respectively.

      48. Annexure PJF7 also identifies Blue Wall Shipping Limited as the owner and

          operator of "Handysize, Handymax and Supra vessels".




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        49. I also annex marked "PJFB" a further extract from the Blue Wall Shipping Limited

            websne which Indicates that "Blue Wall Shipping owns and operates the vessels

            listed below•. .". Amongst those listed is the vessel.

        50. In the premises, the irresistible inference is that the MV Adamastos and the

            vessel are beneficially owned by George and Stathis Gourdomlchalis who as

            executives and shareholders of both Blue Wall Shipping Limited, Adamastos

            Shipping and the Second Respondent have the power to control the destiny of

            each such company.

        51. This is corroborated by the fact that the Gourdomichalls brothers are also

            executive officers of Phoenix Shipping, which Is the approved manager of all the

            vessels in the group, including the MV Adamastos and the vessel. As we have

             pointed out al 42 above, Phoenix Shipping held itself out as the beneficial owner

             of the vessel.

             Finally, in this regard, I refer to an extract from Ship2Shore an onllne magazine

             of maritime and transport economics dated 26 May 2014 marked "PJF9". I refer

             in particular to the penultimate paragraph on the first page thereof where, inter

             alia, In relation to "their fleet" it is stated that the 'latest injection was the

             Vigorous, the former 52,200 dwt Tropical Queen, bullt In Japan (Tsuneishl)

             and also on their fleet ls the Adamastos, a panamax that was built In 1999':


 [8}         It will be appreciated that the three documents identified as "PJF6",

 "PJF7" and "PJF8" lie at the heart of the applicant's assertions as to proof of

 association between the mv Vigorous and the mv Adamastos.



  [91        I deal firstly with the document referred to in paragraph 44 of the founding

  affidavit, i.e. the report prepared by lnfoSpectrum. If regard is had to the

  lnfoSpectrum report it will be seen that it was prepared for a client identified as




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 Kopak Shipping Co an entity that is not described on the papers nor is its

 relationship to the applicant disclosed. However I take that observation no further.


 [1 O]       The lnfoSpectrum report contains the following disclaimer:-
         "Please note this document: (i) is only valid as at its date of issue; (ii) represents the
         current opinions of lnfospectrum as at the date of its issue, which lnfospectrum has
         endeavoured to substantiate through appropriate research but the accuracy of any
         facts stated or of any statements made in this document cannot be guaranteed; and
         (iii) does not constitute a definitive or conclusive judgement of a particular entity's
         worth or financial standing. The document should be used as a tool in assessing the
         subject company and not as the recipient's sole basis for any decision - or in
         substitution for the recipient's due diligence - in deciding whether or how to trade
         with the subject company or otherwise. lnfospectrum eJCcluded and disclaims any
         and all liability and responsibility to any entity or person who relies on the document
         or any part or it or on any information contained within it."



  [11]        In the lnfoSpectrum report the shareholders of the company Identified as

  Adamastos Shipping and Trading SA (i.e. the registered owners of the mv

  Adamastos) are described as "... shareholders: not disclosed due to company's

  Liberian registration. Understood to be beneficially owned by George D. and Stathis

  D. Gourdomichalis." {my emphasis]. In the section dealing with the directors of

  Adamastos Shipping and Trading S.A. the report indicated that this information is

  " ... [n]ot disclosed due to company's Liberian Registration·. A section dealing with the

  manager of the company describes it as being managed for Phoenix Shipping and

  Trading S.A. and describes the two Gourdomichalis brothers as the Chief Executive

  Officer ("CEO") and the Chief Operations Officer ("COO") respectively.



  [12]        The report then outlines certain historical information and describes

  Phoenix Shipping and Trading S.A {"PST") as a "perceived affiliate company'' [my



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 emphasis]. In a section of the lnfoSpectrum report under the heading "operations·

 the following appears:-

         "PST currently provides commerical and technical management services to nine bulk
         carriers, comprising one Panamax (the aforesaid mv Adamatos), two Supramax, two
         Handymax, and four Handysize units, of which eight are understood to be operating
         at this time (see Developments section). As Is customary practice In Greek shipping,
         all of the ships managed by PST are registered under the nomlnal ownership of
         separate offshore companies (in this case all domiciled in Liberia), concealing
         ultimate beneficial control, which for eight of the vessels is understood to lie with the
         Gourdomichalis brothers and private equity investors through Blue Wall (according to
         the latter's website}, with the subject vessel understood to be controlled by the
         Gourdomichalis brothers (without the presence of external investment partners)."



 [13]        The reference to "Blue Wall" in the paragraph quoted above appears to be

 a reference to Blue Wall Shipping Limited, Marshall Islands which is described in the

  lnfoSpectrum report as being an affiliate of Adamastos Shipping and Trading SA.



  [14)       Annexure PJF7 to the founding affidavit contains an extract from Blue

  Wall Shipping's website it discloses that the Gourdomichalis brothers are the CEO

  and COO of Blue Wall respectively.



  [15]       A further extract from Blue Wall Shipping's website appears annexed to

  the founding affidavit as PJF8 that extract describes the fleet which significantly does

  not include the mv Adamastos. The link in the founding affidavit to the Adamastos is

  made by reference to annexure PJF9 to the founding affidavit which is an extract

  from an online shipping magazine known as "Ship2Shore·. In an article dated 26

  May 2014 concerning Blue Wall and the Gourdomichalis Brothers reference is made

  to the mv Adamastos being a recent addition to the Blue Wall Shipping Fleet.



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 [16}      The picture however will not be complete without returning to the

 conclusion and assessment made in the lnfoSpectrum report under the heading

 "assessmenr. That section reads as follows:-

        "Adamastos Shipping & Trading SA (AST) is a private company, registered in
        Liberia in November 2012. Subject to obtaining documentary confirmation from the
        respective flag registry, is the registered owner for the 1995-built Panamax bulk
        carrier mv Adamastos, a vessel regarded as ultimately controlled by interests
        affiliated to the Gourdomichalis brothers, George and Stathis. The mv Adamastos
        and AST are represented and managed by the perceived affiliate, Piraeus-based
        ship management affiliate Phoenix Shipping & Trading S.A. {PSD.


        PST is a private limited company that was incorporated in 2011 in the Marshall
        Islands, and Is understood to be controlled by the brothers George and Stathis
        Gourdomichalis. The principals come from a shipping family with their father
        Dracoulis Gurdomichalis being involved in ship owning since the late 1960s. It is
        worth mentioning that between 2006 and 2011, the Gourdomichalis brothers
        controlled a further ship management company called G. Bros Maritime S.A (G.
        Bros), which ran into financial difficulties and was phased out In 2011. PST was set
        up to front the Gourdomichalis brothers' retum to the market, by initially putting two
        vessels under its management. PST currently manages a fleet of nine bulk carriers,
        although eight of these are currently operational; the vessels are mainly employed on
        time charters. With the exception or the mv Adamastos, the remaining eight vessels
        are understood to be ultimately controlled by Blue Wall Shipping Limited {Blue Wall)
        (according to the website or the latter). Blue Wall was established in February 2013
        by the Gourdomichalis brothers along with undisclosed private equity investors.
        Between 2013 and 2014, Blue Wall's principals acquired eight bulk camera, and
        have four more Handymax units currently on order. The negative market feedback
        regarding PST's payment perfonnance suggests that the operation's cashtlow is
        strained. The arrest of the mv Porto Maina In September 2014 due to a loan default,
        along with the troubled record of the mv Adamastos, warrant caution when
        considering credit dealings."




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 [17]        On that assessment can it be said that the controlling mind of the mv

  Adamastos is the same as the controlling mind of the mv Vigorous? In other words

  has a sufficient link been established between Blue Wall Shipping and the mv

  Adamastos?



  (181       As Mr Pammenter correctly pointed out the proof of the association is a

  .vital element of the claim and suggested, with reference to Gericke v Sack 1978 (1)

  SA at 827 0 - H and to the fact that the respondents have chosen not to put up any

  papers with regard to the present dispute that proof of the claim is best left to trial

  and that at present one must err on the side of caution to protect the association

  alleged.


  (19]       It appeared common cause as to the incidence of the onus and here I was

  referred to paragraphs 39 and 40 in mv Silver Star: Ownera of the mv Silver Star v

  Hilane Ltd 2015 (2) SA 331 (SCA):-

             "(39J It Is well settled that Hilane bears the onus of demonstrating that the arrest

             was justified and this includes proving the alleged association on a balance of

             probabilities (Cargo Laden and Lately Laden on Board The MV Thalassini Avgi v

             MV Dimitrls 1989 (3) SA 820 (A) at 834F - G: Bocimar supra at 518B - E). but,

             as Wallis observes (at 292):

                 'The task of proving the association is complicated by the relative inaccessibility of

                  the key information required to demonstrate the Identity if the person or persons

                  who control the two ship-owning companres .... In the circumstances an applicant

                  for arrest is confronted with the heavy burden of proving a disputed matter in a

                  balance of probabilities on the papers when it has no direct access to the relevant

                  information and may well be confronted with the withholding of information,

                  disingenuousness and downright dishonestly.'




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       In view of that difficulty the fact that the response to an allegation that there is an

       association between two vessels is untruthful, evasive and economical on detail will

       be a relevant factor in determining whether the applicant has discharged the onus of

       proof resting on it.



       (40] The purpose of the Act is to make the loss fall where it belongs by reason of

       ownership, and in the case of a company, ownership or control of the shares (the

       Berg supra at 712A). And, as Marais JA pointed out (albeit in a minority judgment) in

       MV Heavy Metal: Belfry Marine Ltd v Palm Base Maritime SON BHD 1999 (3} SA

       1083 (SCA) (Heavy Metal) para 4:

               'The way in which this was done was, first, by describing in s 3(7)(a)(i), (ii) and (iii) the

               circumstances in which ships were to be regarded as associated and, secondly. by

               enacting certain deeming provisions in s 3(7)(b) (I), (ii) and (iii) which are obviously

               designed not only to defeat defensive stratagems which ship owners might

               deliberately deploy to ward off potential arrests of associated ships by disguising their

                ownership or their control of such ships, but also to allow it to be shown even in        a
                case where no such motive existed where power of control really lay'

       Those sections require that in relation to both the ship concerned and the associated

        ship a 'person' must be identified who 'controls' (or controlled) the companies in

        question. The level of control required is that the person must control the overall

        destiny of the company (The Kadirga 5 (No 1) JA Chapman & Co Ltd v Kadigra

        Denizcilik ve Tic;aret AS SCOSA C12 (N) at C14E). in his consideration of the

        concept of control as employed in the Act in Heavy Metal para 8, Smalberger JA,

        writing for the majority (Nienaber JA and Melunsky AKA concurring) expressed

        himself thus:

                'The subsection !3(7)(b)(ii)] elaborates upon and refined the concept of control by that

                person. Control is expressed in terms of power. If the person concerned has power,

                directly or indirectly, to control the company he/she shall be deemed (geag ... word)

                to control the company. Power is not circumscribed in the Act. It can be the power to


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                manage the operations of the company or it can be the power to determine its

                direction and fate. Where these two functions happen to vest In different hands, it Is

                the latter which, in my view, the Legislature had in mind when referring to power and

                hence to control.'

         According to Wallis (at      1an   the process of comparison that follows upon this

         identification is intended to be a simple one. He adds:

                'The maritime claimant identifies the party who controls the company that owned the

                ship concerned and identifies the party who controls the company that owns the

                associated ship that it seeks to arrest, the result of those exercises Is then compared.

                If they correspond, in the sense that the same person or persons control both

                companies, then the requisite association is established. If they are not the same

                then the association is not established."




  [201       I however agree with the submission made by Mr Mullins that there must

  be at least some evidence based on actual fact and not mere suggestion and

  conjecture. The essence of proof of association is to establish that the same person

  or persons have the power to determine the direction and fate of the two ships in

  question. In this regard I was referred to mv Heavy Metal: Belfry Marine v Palm Base

  Maritime SDN BDH 1999 (3) SA 1083 (SCA) at paragraph 8 (quoted in part above):

         'The subsection elaborates upon and refines the concept of control by that person.

         Control is expressed in terms of power. Of the person concerned has power, directly

         or indirectly, to control the company he/she shall be deemed (geag . .. word) to

         control the company. 'Power' is not circumscribed in the Acl ft can be the power to

         manage the operations of the company or it can be the power to determine its

         direction and fate. Where these two functions happen to vest in different hands, it is

         the latter which, in my view, the Legislature had in mind when refening to 'power' and

          hence to 'control'. In South African legal terminology that means (essentially for the



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         reasons given by the Court a quo at 1998 (4) SA 479 (C) at 492C - F ('the reported

         judgment): see also s 195 (1) of the Companies Act 61 of 1973) the person who

         controls the shareholding in the company. Foreign law is a question of fact. If the

         appellant wished to make out a case that the law of the Republic of Cyprus differed

         significantly from the law of South Africa, It should have adduced evidence to that

         effect. It did not do so. Consequently there is no reason to surmise that the

         applicable law in Cyprus differs materially from that of South Africa (cf Caterham Car

         Sales & Coachworks Ltd v Birkin Cars (Ply) Ltd and Another 1998 (3) SA 938 (SCA)

         at 9548-E)'




  [21]           On the papers before me it seems that the attempts to establish        a   link

  between the      mv Adamastos and the mv Vigorous via Blue Wall Shipping boils down
  to being mere suggestion and conjecture. In my view it Is crucial that the

  lnfoSpectrum report understands that the mv Adamastos is controlled by the

  Gourdomichalis brothers alone without the presence of external investment partners

  while the remainder of the so called fleet within Blue Wall is controlled by entities

  which are not described, the high water mark being that the Gourdomichalis brothers

  are involved in Blue Wall Shipping but with additional external investors who might or

  might not have an influence with regard to the direction and fate of the vessels in

  their fleet.



  [22]           That situation brings to mind what was said by Magid J in East Cross Sea

  Transport Inc v Elgin Brown and Hemer(Pfy) Ltd 1992 (1) SA 102 (D) at 107 E-F:-

          "lf they had common directors, those directors, acting together would have controlled

          the management of the companys' affairs. That is not, however, to say that they

          controlled the shares in the companies for there is a vast conceptual and factual




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                   difference between control of the management of a company's affairs and control of

                   the shares in that company; and, as appears clearly from s3(7)(a)(ii) of the Act, the

                   ownership [and contra~ of shares is the sole criterion of association contained
                   therein".



            [23]       In the result I was not convinced that there was sufficient in the founding

            papers that required the respondent to put up an affidavit in order to deal with the

            question of association. The founding affidavit, did not, in my view, go far enough to

            overcoming the hurdle imposed by the onus and consequently I found that upon

            reconsideration the arrest had to be set aside which is why I made the order that I

            did.




            Vahed J




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